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 8                        UNITED STATES DISTRICT COURT
 9                  FOR THE CENTRAL DISTRICT OF CALIFORNIA
10                             June 2021 Grand Jury
11   UNITED STATES OF AMERICA,             CR 2:21-cr-00425-JFW
12             Plaintiff,                  I N D I C T M E N T
13                   v.                    [18 U.S.C. § 641: Theft of
                                           Government Property; 18 U.S.C.
14   GURGEN ISRAYELYAN,                    § 981(a)(1)(C) and 28 U.S.C.
                                           § 2461(c): Criminal Forfeiture]
15             Defendant.
16

17        The Grand Jury charges:

18                          COUNTS ONE THROUGH THREE

19                            [18 U.S.C. §§ 641, 2]

20   A.   INTRODUCTORY ALLEGATIONS

21        At times relevant to this Indictment:

22              Saint Christopher Hospice, Inc. (“SCH”) was a hospice

23   agency located at 4605 Lankershim Boulevard, Suite 704, North

24   Hollywood, California 91602.       SCH discharged all patients and

25   ceased operating in or around September 2019.

26              Defendant GURGEN ISRAYELYAN was the owner and Chief

27   Executive Officer of SCH.

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 1             Defendant ISRAYELYAN controlled and was a signatory on

 2   a business checking account ending in x6658, in the name of SCH,

 3   held at a bank in Los Angeles County (the “SCH Bank Account”).

 4        The CARES Act Provider Relief Fund

 5             In March 2020, Congress passed the Coronavirus Aid,
 6   Relief, and Economic Security (“CARES”) Act, which was designed
 7   to provide emergency financial assistance to the millions of
 8   Americans suffering due to the COVID-19 pandemic.
 9             The CARES Act appropriated moneys to help health care
10   providers (“Providers”) that were financially impacted by COVID-
11   19, as well as to provide care to patients who were suffering
12   from COVID-19 and compensate providers for the cost of that care
13   (the “Provider Relief Fund”).      The United States Department of
14   Health and Human Services (“HHS”), through its agency, the
15   Health Resources and Services Administration (“HRSA”), oversaw
16   and administered the Provider Relief Fund.
17             In order to rapidly provide funding to Providers
18   during the pandemic, HRSA distributed payments under the CARES
19   Act Provider Relief Fund (“Provider Relief Fund Payment” or
20   “Payment”) to Providers who: (a) billed Medicare fee-for-service
21   (Parts A or B) in Calendar Year 2019; (b) were not currently
22   terminated from participation in Medicare or precluded from
23   receiving payment through Medicare Advantage or Part D; (c) were
24   not currently excluded from participation in Medicare, Medicaid,
25   and other Federal health care programs; and (d) did not
26   currently have Medicare billing privileges revoked.          Providers
27   meeting these criteria automatically received the Provider

28   Relief Fund Payment and did not have to apply for the funding
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 1   but were required to comply with the terms and conditions of the

 2   Provider Relief Fund (“Terms and Conditions”) if they retained
 3   such funding.
 4        Terms and Conditions of Provider Relief Payment
 5             Provider Relief Fund recipients attested to their
 6   compliance with the Terms and Conditions in one of two ways.
 7   First, Provider Relief Fund recipients were notified that they
 8   could submit an attestation through an online portal confirming
 9   receipt of the funds and agreeing to the Terms and Conditions.
10   Second, recipients were notified that, if they kept the money
11   for a period that exceeded 90 days from receipt, they were
12   deemed to have accepted the Terms and Conditions of the Provider
13   Relief Fund.
14             Providers who attested to the Terms and Conditions
15   acknowledged that their commitment to full compliance with the
16   terms and conditions was material to the HHS Secretary’s
17   decision to disburse Provider Relief Fund Payments to them.
18   Providers further acknowledged that noncompliance with any Term
19   or Condition could cause the HHS Secretary to recoup some or all
20   of the Payment.
21             Providers who attested to the Terms and Conditions
22   certified that they:
23             a.      billed Medicare in Calendar Year 2019;
24             b.      provided diagnoses, testing, or care for
25   individuals with possible or actual cases of COVID-19 after
26   January 31, 2020;
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 1              c.   were not then terminated from participation in

 2   Medicare or precluded from receiving payment through Medicare

 3   Advantage or Part D;

 4              d.   were not then excluded from participation in

 5   Medicare, Medicaid, and other Federal health care programs;

 6              e.   did not then have Medicare billing privileges

 7   revoked;

 8              f.   would only use the Payment to prevent, prepare

 9   for, and respond to coronavirus, and that the Payment would

10   reimburse the recipient only for health-care-related expenses or

11   lost revenues that were attributable to coronavirus;

12              g.   provided information relating to the Payment that

13   was true, accurate, and complete and that any deliberate

14   omission, misrepresentation, or falsification of any information

15   was punishable by, inter alia, criminal penalties, including but

16   not limited to imprisonment; and

17              h.   would maintain appropriate records and cost

18   documentation to substantiate the reimbursement of costs under

19   the disbursement.

20   B.   THEFT OF GOVERNMENT PROPERTY

21              On or about April 20, 2020, in Los Angeles County,
22   within the Central District of California, and elsewhere,
23   defendant ISRAYELYAN knowingly and willfully stole, purloined,
24   and converted to his own use and the use of another money of
25   HHS, a department of the United States, namely, the following
26   amounts, each exceeding $1,000, of an approximately $89,163
27   payment from the HHS Provider Relief Fund that was deposited in

28   the SCH Bank Account on or about April 17, 2020, to which
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 1   defendant ISRAYELYAN knew he was not entitled, with the intent

 2   to deprive HHS of the use and benefit of that money:

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 4   COUNT    APPROX. AMOUNT       DESCRIPTION
                                   International wire transfer to
 5   ONE      $10,000              A.I.
 6   TWO      $10,000              Cash withdrawal
 7   THREE    $60,000              Purchase of cashier’s check
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 1                           FORFEITURE ALLEGATION

 2          [18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c)]

 3             Pursuant to Rule 32.2 of the Federal Rules of Criminal
 4   Procedure, notice is hereby given to defendant GURGEN ISRAYELYAN
 5   that the United States of America will seek forfeiture as part
 6   of any sentence, pursuant to Title 18, United States Code,
 7   Section 981(a)(1)(C) and Title 28, United States Code, Section
 8   2461(c), in the event of defendant’s conviction under this
 9   Indictment.
10             Defendant ISRAYELYAN, if so convicted, shall forfeit
11   to the United States of America the following:
12             a.    all right, title, and interest in any and all
13   property, real or personal, constituting, or derived from, any
14   proceeds traceable to the offense; and
15             b.    To the extent such property is not available for
16   forfeiture, a sum of money equal to the total value of the
17   property described in subparagraph a.
18             Pursuant to Title 21, United States Code, Section
19   853(p), as incorporated by Title 28, United States Code, Section
20   2461(c), any defendant so convicted shall forfeit substitute
21   property, up to the value of the property described in the
22   preceding paragraph if, as the result of any act or omission of
23   defendant, the property described in the preceding paragraph or
24   any portion thereof (a) cannot be located upon the exercise of
25   due diligence; (b) has been transferred, sold to, or deposited
26   with a third party; (c) has been placed beyond the jurisdiction
27   of the court; (d) has been substantially diminished in value; or

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 1   (e) has been commingled with other property that cannot be

 2   divided without difficulty.

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 4                                     A TRUE BILL
 5

 6                                                  /S/
                                       Foreperson
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 8

 9   TRACY L. WILKISON
     Acting United States Attorney
10

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     SCOTT M. GARRINGER
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22   Assistant Chief, Fraud Section
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27   U.S. Department of Justice
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